Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 1 of 12 PageID #: 72
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 2 of 12 PageID #: 73
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 3 of 12 PageID #: 74
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 4 of 12 PageID #: 75
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 5 of 12 PageID #: 76
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 6 of 12 PageID #: 77
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 7 of 12 PageID #: 78
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 8 of 12 PageID #: 79
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 9 of 12 PageID #: 80
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 10 of 12 PageID #: 81
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 11 of 12 PageID #: 82




                     EXHIBIT “A”
Case 1:20-cv-01121-SJB Document 25-1 Filed 06/10/21 Page 12 of 12 PageID #: 83




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

 EPIFANIO JULIO MENDEZ,
                                                                       Case No.: 20 cv 1121
                                Plaintiff,                                       (SJB)

         -against-

 BAM HOSPITALITY LLC, dba PATSY'S
 PIZZERIA, located at 450 Dean Street,
 Brooklyn, New York 11217; and
 JOSEPH M. JULIANO,
 and JACQUELINE JULIANO, individually,

                                Defendants.


         The matter in the above-captioned action having been amicably resolved by and between
  the parties, and the court having approved the settlement as a fair and reasonable, it is hereby
  stipulated and agreed, pursuant to Federal Rule of Civil Procedure 4l(a)(2), that the case shall
  be, and hereby is, dismissed with prejudice and without costs or attorneys' fees against any party.
  The court shall retain jurisdiction to enforce the parties' settlement agreement.
  Dated: New York, New York
         June 9, 2021

  Respectfully submitted,
  CILENTI & COOPER, PLLC                        MINTZ & GOLD LLP
  Attorneys for Plaintiff                       Attorneys for Defendants



  Peter H. Cooper, Esq.



  So Ordered:
                 Sanket J. Bulsara, U.S.M.J
